                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                    WESTERN DIVISION

                                      No. 5:19-CR-00276-M


 UNITED STATES OF AMERICA                       )
                                                )
          Plaintiff,                            )
                                                )                    ORDER
 V.                                             )
                                                )
 SEDALE LEE COUNCIL,                            )
                                                )
          Defendant.                            )


        This matter comes before the court on Defendant' s Motion to Seal (DE 71) [DE 73]. Pursuant

to Local Criminal Rule 55.2 and based on information set forth in the proposed sealed documents,

the Motion is GRANTED. The Clerk of the Court shall maintain under seal the documents at DE 71

until further order of the court.


        SO ORDERED this         /~ yof October, 2021 .

                                            ~Ir: 1111.-e-v" ~
                                            RICHARD E. MYERS II
                                            CHIEF UNITED STATES DISTRICT JUDGE




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